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                        AMERICAN ARBITRATION ASSOCIATION

VERONICA DAVIS,

        Claimant,

vs.                                                         Case No. 01-17-0006-8007

CONN APPLIANCES, INC.,

        Respondent.


                                CLAIMANT’S PRE-HEARING BRIEF

I.      Introduction and Brief Summary

        Claimant bought furniture from Conn’s, and financed it through Conn’s. Her payment

was due on the 5th of each month, but there was no late penalty so long as she paid on or before

the 15th. Claimant paid her bill every month; she never missed a payment. But she usually did

not pay by the 5th—on average, she paid around the 12th. So despite that she did pay her bill

every month, Conn’s used its predictive autodialer to call her cell phone every month. Conn’s

called her cell phone some times 10, 11, 12 times per day or more, to “remind” her to pay the bill

she always paid.

        Claimant complained to Conn’s repeatedly that they were harassing her, that there was no

need to call her. She pleaded with Conn’s, asking why they call her dozens of times each month

when she always pays her bill. When that didn’t work, after receiving hundreds of these

autodialer calls for more than a year, Claimant finally told Conn’s that she was going to hire a

lawyer if they didn’t stop harassing her. Then she told Conn’s a again. Then a third time. She

repeatedly begged Conn’s to stop calling her. And Conn’s repeatedly refused to stop. That sort of

harassment should be illegal, and it is.
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           The Telephone Consumer Protection Act (TCPA) prohibits use of an automatic telephone

dialing system (ATDS) to call a cellular telephone number without consent. In this case,

Claimant concedes that Respondent initially had her consent to receive ATDS calls to her cell

phone. But Claimant revoked that consent, which the law allows her to do.1 Therefore, to prevail

on her TCPA claim, Claimant in this case must show:

           (1)      Respondent called her cell phone using: (a) an Automatic Telephone Dialing
                    System (ATDS); or (b) an artificial or pre-recorded message;

           (2)      That Claimant told Respondent to stop calling her, thereby revoking her consent
                    to receive those calls; and

           (3)      That after Claimant revoked consent, Respondent continued to call her cell phone
                    using: (a) an Automatic Telephone Dialing System (ATDS); or (b) an artificial or
                    pre-recorded message.

           Claimant will plainly show all three elements: (1) Claimant will show the great weight of

federal regulations and case law on the subject (including in the Middle District of Tennessee)

says that Respondent’s predictive autodialer constitutes an ATDS because it automatically dials

phone numbers without human intervention at the time of dialing; (2) Claimant will play the

audio recordings of the multiple phone calls where she tells Conn’s to stop calling her, thereby

revoking consent; and (3) Claimant will demonstrate through phone records the number of times

Conn’s continued to call her, using its ATDS and pre-recorded or artificial “broadcast”

messages.

           Historically, Respondent’s strategy in these final hearings has been to muddy the water,

attempting to create confusion with a series of red herrings. To try to stop Respondent from

doing so, this pre-hearing brief will lay out the simple facts of this case, and explain why the

overwhelming weight of legal authority, when applied to those facts, requires a final order in her

favor and against Respondent.
1
    This issue has already been ruled on in this case, by the Arbitrator’s Order dated December 9, 2018.

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II.     Relevant Background Facts

        On August 5, 2015, Claimant purchased a sofa and a love seat from Respondent.

Claimant entered into a contract to finance the furniture through Conn’s. She set up a 30-month

payment plan. Conn’s would receive an additional $452.89 in financing charges (20.98% on the

loan of $1,542.41). The contract contained a provision wherein Claimant consented to Conn’s

calling any cell phone number she provided them “using pre-recorded or artificial voice

messages, as well as calls made by an automatic dialing system.”

        Claimant’s contract stated that her first payment was due the 5th day of each month.

Importantly, Claimant was told she had a 10-day grace period—the contract also said she could

pay on or before the 15th of each month without incurring a late fee. Each month, Claimant paid

Conn’s—$70.00 on September 10, 2015; $65.00 on October 9th, and another $65.00 on

November 12th. By December 2015, Claimant was actually a little ahead on her payments. By

that same time, Conn’s had called her cell phone more than 60 times, emailed her twice and sent

her two text messages “reminding” her about her payments.

        Recounting the sheer number of unnecessary and harassing phone calls Respondent made

to Claimant’s cell phone is exhausting. Living through it was undoubtedly far worse. In the first

six months of 2016, Claimant continued to pay her bill around the same time each month and

Conn’s still called her 100 more times. On July 14, 2016, Claimant paid Conn’s $67.00. Conn’s

had already called her 49 times that month, in a span of 9 days, an average of more than 5 calls

per day. She paid $67.00 again the next month, on August 12, 2016. Conn’s had already called

her 26 times in a span of 6 days.




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       Claimant continued to pay her bill each month, and each month Conn’s continued to use

its predictive dialer (an ATDS) to call her anyway: 39 calls in October 2016, 25 calls in

November, 20 more calls in a span of only four days in December 2016.

       January 11, 2017: By January 11, 2017, Claimant couldn’t take it anymore. She had

already received 33 autodialer calls from Conn’s in less than 6 days that month. She had received

more than 370 autodialer calls from Conn’s in total. Claimant called Conn’s and spoke to Agent

Angelina Romero. She told Agent Romero, “Look, y’all call my phone 50 times a day. It’s

ridiculous. … I ain’t never missed a payment. Y’all are going to get your money. But y’all harass

me. It’s harassment. It’s ridiculous how y’all call a person’s phone. … I think I’m gonna find

me an attorney, because this is harassment. Just to show how many times y’all call my phone

over $67.” Agent Romero entered a note into Claimant’s account acknowledging her complaint

about the calls: “[unidentified caller stated] that we keep calling and [hung up].”

       January 11, 2017 (the second time): Conn’s called Claimant again that same day.

Claimant called Conn’s back. This time she spoke to Conn’s agent Mercedes Johnson. Her

disbelief evident in her voice, Claimant said “Y’all just called my phone again! I have never

missed a payment.” She told Agent Johnson again, for the second time that day, that they were

harassing her and again, that she was going to get an attorney to stop the harassment. The next

day, January 12th, Conn’s called her 11 times. She paid her bill on January 13th. Conn’s called

her 6 times that day. Conn’s autodialed Claimant’s cell phone 48 times in January 2017, even

though she paid her bill the same as she always did, complained about harassment, and

threatened to sue Conn’s.

       The next month, February 2017, Conn’s called her 71 times and sent her 3 emails.




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       March 13, 2017: On March 13, 2017, Claimant spoke to Conn’s agent Rheannon

Thompson and, again, said she was going to hire an attorney to stop Conn’s from harassing her:

               I’m so sick of y’all calling my phone all day long. I’m gonna see
               what I can do about harassment. I just told them the other day that
               I’m going to pay it on or before the 15th. […] y’all don’t have to
               call. […] I am gonna get me an attorney. Make sure you put that in
               the notes, because that’s harassment. […] I told them last week the
               same thing. They called me the other day; I told them the same
               thing. I’m sick of y’all. […] It’s harassment. […] and I’m gonna
               do something about this.

Agent Thompson entered a note in Claimant’s account: “stated I know who she is and she did

not want to verify and stated she will file for harassment and [hung up].”

       Conn’s used its autodialer to place 345 more phone calls to Claimant after this date.

Claimant continued to pay her bill. The calls didn’t stop.

                 MONTH            NUMBER OF TIMES CONN’S CALLED CLAIMANT
                 March 2017       42 calls in 9 days
                 April 2017       58 calls in 9 days
                 May 2017         55 calls in 9 days
                 June 2017        60 calls in 10 days

       June 15, 2017: On June 15, 2017, Claimant answered a call from Conn’s, and was

connected to agent Lonny Soto. Claimant told Conn’s to stop calling her phone: “oooo I get so

sick of y’all calling. Please stop calling my phone. I paid my bills last night ok? … Y’all

stressing me out. … I wish you make a note of it because you all are really stressing me out.”

Agent Soto did not make a note of it. He did not remove Claimant from the call list. He did not

mark her cell phone number “Do Not Use,” (as is supposedly Conn’s policy) nor is there any

indication in the account notes that Claimant revoked her consent by asking Conn’s to stop

calling her. In fact, Conn’s account notes don’t contain anything about the call.

       About 90 minutes later, Conn’s called Claimant again.



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        June 15, 2017 (the second time): In her second conversation with Conn’s on June 15,

2017, Claimant told Conn’s agent Veronica Perez “Stop calling my phone” again. Agent Perez

said she would remove Claimant from the call list. She did not. She did not indicate in the

account notes that Claimant asked Conn’s to stop calling her, or mark her cell phone number as

“Do Not Use”. Conn’s used its autodialer to place 176 more phone calls to Claimant after this

date.

               MONTH             NUMBER OF TIMES CONN’S CALLED CLAIMANT
               July 2017         61 calls in 9 days
               August 2017       50 calls in 8 days
               September 2017    18 calls in 9 days
               October 2017      58 calls in 8 days

        October 11, 2017: On October 11, 2017, Claimant told Conn’s agent Kerry Brown, “If

y’all call my phone one more damn time, I’m gonna sue y’all for harassment” and asked

incredulously, “Why are you still calling?” Agent Brown put in the notes that Claimant stated

she is “tired of the calls”. Agent Brown did not mention Claimant saying if Conn’s called her

again she would sue Conn’s.

        October 12, 2017:     On October 12, 2017, Claimant told Conn’s agent Angelica

Gonzalez, “If you call me one more damn time…” “Stop calling me from all these damn

different numbers.” Agent Gonzalez did not enter anything in the account notes about this

revocation and she did not mark Claimant’s cell phone number as “Do Not Use”.

        October 13, 2017:     On October 13, 2017, Claimant told Conn’s agent Joannalois

Abbang, “Stop calling me” and “I don’t care. Record me. I'm tired of y’all calling me. … Stop

calling me. I tell you that every time you call. Ok? Are you recording that? … Stop calling my

damn phone.” Agent Abbang entered in the account notes that Claimant was upset about the calls




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and, finally, changed Claimant’s cell number from “Good” to “Do Not Use”. Conn’s autodialed

Claimant two more times that day.

         In total, Conn’s autodialed Claimant’s cell phone more than 850 times, and manually

dialed Claimant’s cell phone more than 50 times, for an average of 35 phone calls per month.

See Exhibit A. For more than two years, nobody in Claimant’s life called her more than Conn’s.

III.     Conn’s Automatic Telephone Dialing System: Basic Operations of the Noble
         Outbound Predictive Dialer

         Conn’s standard financing contract required Claimant to consent to receiving “calls made

by an automatic dialing system” because Conn’s uses an automatic dialing system to call

consumers. If they didn’t, they wouldn’t need it in the contract.

         The automatic telephone dialing system (ATDS) Conn’s uses to place outbound calls is

the Noble Outbound Predictive Dialer, manufactured by Noble Systems Corporation. Conn’s

places outbound phone calls 7 days per week, from 8:00 AM to 9:00 PM. On an average day,

Conn’s places 600,000 outbound phone calls to its customers, and employs approximately 575

agents to handle the phone calls.2

         That amounts to around 1,044 outbound phone calls per agent, per day, or around 130

phone calls per agent, per hour. Conn’s is able to do this because its human agents do not dial

the phone calls. Instead, fittingly, Conn’s autodialer dials the phone numbers automatically at a

rate many times greater than humanly possible. If the agents had to manually dial the calls

instead of having the autodialer do it, they would do well to make 130 calls in an entire 8-hour

shift. Conn’s ATDS allows it to place a volume and frequency of phone calls that human beings




2
 Williams, Jr. v. Conn Appliances, Inc., Case No. 2:17-cv-02052-JTF-cgc (W.D. Tenn. Oct. 9, 2018), (Document
20-3, at p. 69 (Transcript p. 263:13-20).


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could never come remotely close to achieving. Conn’s autodialer places calls in three modes:

manual, broadcast and predictive (or “system assisted”).

       Manual Mode: In Manual mode, Conn’s agent actually dials the phone number of

       specific customer and waits to see whether that customer answers. Manual calls do not

       violate the TCPA because of the significant level human interaction at the time the phone

       is dialed—i.e., manual calls are not “automatic”.

       Broadcast Mode: In Broadcast mode, Conn’s predictive dialer places calls using an

       artificial or prerecorded voice. Conn’s makes two types of Broadcast calls:

              (1) the predictive dialer plays a prerecorded message such as: “This is Conn’s,

              calling with an important message. Call Conn’s today at 1-800-898-7105. You

              can take advantage of our automated system, or ask to speak with one of our

              Conn’s agents. Call us today before 9:00 P.M. at 1-800-898-7105. Thank you for

              choosing Conn’s.”; or

              (2) the predictive dialer uses an artificial or prerecorded voice combined with

              Interactive Voice Response (IVR) software to present the called party with a

              prompt allowing them to interact with the dialing system, such as a prerecorded

              greeting, followed by the option to press “1” to speak with a live agent.

       Predictive Mode: A predictive dialer operating in predictive mode can be contrasted with

       another form of automated dialing equipment, a “progressive” or “preview” dialer.

       Unlike a predictive dialer, a preview dialer displays the information of a single customer

       on the agent’s screen before the customer’s phone is dialed. This ensures that the agent

       knows who he or she is calling before the call is dialed, and also that the agent will be

       available to speak to the customer if the call is answered.



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               Unlike a “preview” dialer, when Conn’s ATDS is operating in Predictive or

        “System Assisted” mode the predictive dialer is dialing from a list of numbers, just as it

        would in Broadcast mode. However, in Predictive mode, once the dialer system

        recognizes that a call has been answered, the call is automatically transferred to a live

        Conn’s agent, without any prerecorded message being played. There will often be a brief

        pause while the call is transferred, and the called party’s information is sent to the agent’s

        screen. The first time the agent knows who he or she is speaking with, is when the call is

        transferred, after the called party has answered the phone. If the predictive dialer does not

        detect that a call has been answered, it automatically moves on and calls the next number

        in the list, without any human intervention. Predictive in this sense means timing. The

        ATDS is predicting the number of customers that will answer the phone, depending on

        the number of phone calls placed.

               If there are not enough agents to handle all of the answered calls, when the called

        party answers the phone, there will be silence on the other end, because there is no one to

        speak with her. This is referred to as an “abandoned” call. On average, Conn’s places

        18,000 abandoned calls to its customers every day.

        As explained above, Manual calls do not violate the TCPA, given the human intervention

involved at the time the call is dialed. Claimant only alleges violations for calls Conn’s placed to

her cell phone in Broadcast or Predictive mode, after Claimant revoked her consent.

IV.     The Relevant Law and Its Application to the Facts

The relevant section of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii), provides that:

        (1) Prohibitions. It shall be unlawful for any person within the United States, or any
        person outside the United States if the recipient is within the United States –




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               (A) to make any call (other than a call made for emergency purposes or made
               with the prior express consent of the called party) using any automatic telephone
               dialing system or an artificial or prerecorded voice –

                      (iii) to any telephone number assigned to a paging service, cellular
                      telephone service, specialized mobile radio service, or other radio
                      common carrier service, or any service for which the called party is
                      charged for the call, unless such call is made solely to collect a debt owed
                      to or guaranteed by the United States;

       Thus, there are two separate types of TCPA violations when calls are made to a

consumer’s cell phone after she has revoked consent: (1) calls using an ATDS; and (2) calls

using an artificial or pre-recorded voice. In this case, Respondent committed both types of

violations.

       A.      Conn’s used a predictive dialer to call Claimant, and a predictive dialer is an
               ATDS under the TCPA according to the FCC and the overwhelming weight
               of case law on the issue.

               1.     Congress has charged the FCC with rulemaking authority
                      implementing the TCPA—and since 2003, the FCC has repeatedly
                      found that a predictive dialer like the one used by Respondent
                      constitutes an ATDS under the TCPA.

       When Congress enacted the TCPA, it vested the Federal Communications Commission

(FCC) with the authority to promulgate regulations to implement the Act’s requirements. 47

U.S.C. § 227(b)(2). One way the FCC prescribes such regulations is through declaratory rulings

and orders. Thus, a Declaratory Ruling and Order by the FCC carries the force of law. See Mais

v. Gulf Coast Collection Bureau, Inc., 768 F.3d 1110, 1121 (11th Cir. 2014) (“Orders ‘adopted

by the Commission in the avowed exercise of its rule-making power’ that ‘affect or determine

rights generally . . . have the force of law[.]’”) (quoting Columbia Broad. Sys. v. United States,

316 U.S. 407, 417 (1942)).




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        The FCC issued such Orders regarding the TCPA in 2003, 2008, 2012 and 2015. As

demonstrated below, it is indisputable that since 2003 the FCC has stated that a predictive dialer

like the one used by Respondent is an ATDS under the TCPA.

                       a.     The 2003 FCC Order

        In 2003, the FCC made “short-shrift of the requirement that an ATDS use a random or

sequential number generator” by ruling that a system can qualify as an ATDS even if it does not

“create and dial 10-digit telephone numbers arbitrarily” but rather “relies on a given set of

[phone] numbers.” Maddox v. CBE Group, Inc., No. 1:17-CV-1909- SCJ, 2018 WL 2327037, at

*4 (N.D. Ga. May 22, 2018) (citing In Re Rules & Regulations Implementing the Tel. Consumer

Prot. Act of 1991, 18 F.C.C. Rcd. 14014, 14092 (2003) (the “2003 FCC Order”)). The 2003

FCC Order noted that “the evolution of the teleservices industry has progressed to the point

where using lists of numbers is far more cost effective. The basic function of such equipment,

however, has not changed—the capacity to dial numbers without human intervention.” Id.

(emphasis added). Respondent Conn’s autodialer dials numbers automatically without human

intervention at the time of dialing, and is exactly the type of ATDS to which the 2003 Order was

referring.

                       b.     The 2008 FCC Order

        In 2008, the FCC issued its next order and “affirm[ed] that a predictive dialer constitutes

an automatic telephone dialing system and is subject to the TCPA’s restrictions on the use of

autodialers.” In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

1991, 23 F.C.C. Rcd. 559, 566 (2008) (the “2008 FCC Order”). The petitioner that prompted the

2008 FCC Order argued, among other things, that (1) the FCC’s “determination that predictive

dialers fall within the meaning of the statutory definition of ‘automated telephone dialing



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equipment’ was incorrect and conflicts with the language of the TCPA” and (2) the FCC had

erred in 2003 because “debt collectors use predictive dialers to call specific numbers provided by

established customers.” Id. at 563, 566. Therefore, the petitioner argued, a predictive dialer

should have only met the definition of an ATDS when it randomly or sequentially generated

telephone numbers, not when it dialed numbers from customer telephone lists. Id. The FCC

explicitly rejected that argument. In other words, the FCC reaffirmed that predictive dialers like

the one used by Respondent constitute an ATDS under the TCPA.

                      c.      The 2012 FCC Order

       In 2012, the FCC continued to make clear that the TCPA’s definition of an ATDS

“covers any equipment that has the specified capacity to generate numbers and dial them without

human intervention regardless of whether the numbers called are randomly or sequentially

generated or come from calling lists.” In the Matter of Rules & Regulations Implementing the

Tel. Consumer Prot. Act of 1991, 27 F.C.C. Rcd. 15391, 15399 (2012) (the “2012 FCC Order”).

In short, a system may qualify as an ATDS by simply having “the capacity to dial numbers

without human intervention.” Id. at 15392. The 2012 FCC Order reaffirmed the 2003 and 2008

Orders finding that Respondent’s predictive dialer is an ATDS, because it has the capacity to dial

numbers without human intervention at the time of dialing.

                      d.      The 2015 FCC Order

       In 2015, the FCC went further and took the position that a device could also qualify as an

ATDS if it had the present, or even the future capacity to dial random and sequential numbers. In

the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C.

Rcd. 7961, 7974 (2015) (the “2015 FCC Order”). As discussed below, the 2015 FCC Order was

appealed.



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                2.       The effect of ACA Int’l and what courts have said regarding
                         predictive dialers and human intervention since.

        The 2015 FCC Order was challenged in the Courts of Appeal and eventually consolidated

before the D.C. Circuit Court of Appeals in ACA Int’l v. Federal Commc’ns Comm’n, 885 F.3d

687 (D.C. Cir. 2018). The ACA Int’l court held that the 2015 FCC Order’s expansion of what

constitutes an ATDS to include devices with the future capacity to randomly or sequentially

generate numbers created “an eye-popping sweep” that could, with the future addition of

software, bring any smartphone within the statutorily enumerated features of an auto-dialer. Id. at

696-97.

        ACA Int’l rejected this interpretation of “capacity” as “an unreasonably, and

impermissibly, expansive one.” Id. at 700. Beyond this, however, courts across the country are

not uniform in their opinion of the impact of ACA Int’l on the governing standard for what

constitutes an ATDS. The majority of Courts – including the only court to address the issue

within Tennessee – have found that a predictive dialer remains an ATDS for purposes of the

TCPA because there is no human intervention involved at the time of dialing.

        At the time of the filing of this brief, in total there have been 33 rulings on this issue post-

ACA-Int’l: 20 of those rulings found that a predictive dialer is still an ATDS whereas 13 found

that a predictive dialer is no longer an ATDS. However, 3 of those 13 decisions3 are no longer

good law after the Ninth Circuit found that a predictive dialer is an ATDS in Marks v. Crunch

San Diego, LLC, 904 F.3d 1041 (9th Cir. Sept. 20, 2018). This then brings the “score” to 20

cases finding that a predictive dialer is an ATDS and 10 cases finding that a predictive dialer is

not an ATDS – meaning approximately 66% of post-ACA Int’l opinions agree with Claimant’s


3
 Marshall v. CBE Group, Inc., No. 2:16-cv-02406-GMN-NJK, 2018 U.S. Dist. LEXIS 55223 (D. Nev. Mar. 30,
2018); Herrick v. GoDaddy.com LLC, 312 F. Supp. 3d 792 (D. Ariz. May 14, 2018); and Wash. v. Six Continents
Hotels, No. 2:16-CV-03719-ODW-JEM, 2018 U.S. Dist. LEXIS 145639 (C.D. Cal. Aug. 24, 2018))

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position in the matter at hand: a predictive dialer, like the one used by Respondent, is an ATDS.

Claimant has attached a full list of the cases since ACA Int’l was issued, reaffirming that a

predictive dialer is an ATDS under the TCPA. See Exhibit B.

        When analyzing this issue, the most important opinion in this arbitration is Ammons v.

Ally Fin., Inc., 326 F. Supp. 3d 578 (M.D. Tenn. June 27, 2018). The contract between the

parties states that the “contract shall be governed by the laws of the State of Tennessee and

applicable federal law.” Within Tennessee, the issue of whether or not a predictive dialer remains

an ATDS after ACA Int’l has only been analyzed once and that was by Chief Judge Crenshaw in

Ammons. It is also important to note that counsel for Respondent, Eric Troutman, Esq., briefed

and argued Ammons on behalf of the defendant, and Morgan & Morgan represented the plaintiff.

There, Chief Judge Crenshaw found that predictive dialers remain ATDSs and that ACA Int’l

only vacated the 2015 FCC Order, not any of the prior orders. Judge Crenshaw found as follows:

        Accordingly, applying the appropriate standard here, the primary consideration
        . . . is “whether human intervention is required at the point in time at which
        [Ammons’] number [was] dialed.” Strauss v. CBE Grp., Inc., 173 F. Supp. 3d
        1302, 1309 (S.D. Fla. 2016). But Ally has made no real argument that a human
        intermediary acts then. At most, Ally has averred that agents are available to
        intervene in calls after they have been initiated by the predictive dialer. (See Doc.
        No. 85 at 18-19). As a matter of common sense, having operators standing by, to
        use an old phrase, to take a connected call is not “human intervention” in the
        dialer’s initiation of calls.

Id. at 588.

        Respondent uses its Noble Predictive Dialer in two relevant modes: broadcast mode, and

predictive mode, which it began calling “system assisted mode” after it began being routinely

sued for violating the TCPA. In broadcast mode, Respondent is not even anticipating a customer

will answer. Rather, a customer who answers is connected to an automated message, not a live

agent. Alternatively, if the customer does not answer, Respondent has the option to leave a pre-



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recorded message for the customer. Respondent left several of these messages for the Claimant.

In predictive mode, which Respondent will call “system assisted mode”, the system dials

customers at a 3:1 ratio each time an agent becomes available to answer a call. In both broadcast

mode and predictive mode, no human intervention is involved at the time of dialing. Rather, the

ten digit telephone number for the customer is dialed by a computer.

         Respondent uses this system to place over 600,000 calls per day. If 600 agents log in to

their shift in the morning to begin fielding predictive mode calls, the system dials 1,800

customers at once. This is done because Respondent estimates that approximately 1 out of every

3 customers called will answer, thereby increasing agent efficiency as the agents do not have to

wait while the phone rings to see if a customer answers. Rather, the system automatically dials

multiple numbers for each agent and connects those customers who answer with an available

agent. The Noble Predictive Dialer is so automated that 18,000 times per day, a customer

answers a call and there is no agent even available to speak to her. This results in an “abandoned

call” where the customer only hears dead air on the other end. This is just one of the negative

sides of this type of dialing process, and one of the reasons why the federal government regulates

this technology.

                3.      In 2015, Congress amended the TCPA, and tacitly approved of FCC
                        orders and existing case law deciding that a predictive dialer
                        constitutes an ATDS under the TCPA.

         The importance of Congress’ 2015 amendments to the TCPA cannot be overstated. Most

pertinent here, Congress amended 47 U.S.C. § 227(b)(1)(A)(iii) by adding the language in red

below:

         (1) It shall be unlawful for any person within the United States, or any person outside the
         United States if the recipient is within the United States –




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               (A) To make any call (other than a call made for emergency purposes or made
               with the prior express consent of the called party) using any automatic telephone
               dialing system or an artificial or prerecorded voice –

                       (iii) to any telephone number assigned to a paging service, cellular
                       telephone service, specialized mobile radio service, or other radio
                       common carrier service, or any service for which the called party is
                       charged for the call, unless such call is made solely to collect a debt owed
                       to or guaranteed by the United States;

Congress’ 2015 amendment to the TCPA speaks volumes, both because of what it says, and

because of what it does not say.

                       a.      Congress did not exclude predictive dialers from the definition
                               of an ATDS under the TCPA.

       At the time the 2015 amendment was passed, the FCC had made clear for more than a

decade that predictive dialers constitute an ATDS under the TCPA. See, the 2003, 2008, 2012

and 2015 FCC Orders. Importantly, it is well-settled that “Congress is presumed to be aware of

an administrative or judicial interpretation of a statute and to adopt that interpretation when it re-

enacts a statute without change.” Lorillard v. Pons, 434 U.S. 575, 580 (1978). In other words, if

Congress disagreed with the last 12 years of FCC Orders—if Congress did not want the TCPA to

apply to predictive dialers, they would have said so in that 2015 amendment. And they didn’t.

                       b.      Congress did not exclude dialers that call from lists of numbers
                               from the definition of an ATDS under the TCPA.

       Likewise, if Congress disagreed with the last 12 years of FCC Orders that say a dialer can

constitute an ATDS even if it calls from a list of numbers, Congress would have said so in that

2015 amendment. And they didn’t. In fact, by adding the language “unless such call is made

solely to collect a debt owed to or guaranteed by the United States,” Congress indicated just the

opposite.




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       All debt collectors call from lists. They don’t just call random people. If Congress didn’t

believe that the TCPA applied to autodialers that call from lists, then there would be no need to

make an exception for calls to collect “a debt owed to or guaranteed by the United States.”

       B.      The Noble system Respondent used to call Claimant is a predictive dialer.

       It is anticipated that Respondent will deny that the Noble Predictive Dialer is a predictive

dialer, and also will allege that the system requires human intervention to operate. Every case

that has analyzed and defined a predictive dialer has indicated that the focus is whether or not a

human is involved at the time of dialing. See Ammons, supra (“Accordingly, applying the

appropriate standard here, the primary consideration . . . is ‘whether human intervention is

required at the point in time at which [Ammons’] number [was] dialed.’”). Respondent simply

does not have human beings dialing the 600,000 calls it makes each day; rather it calls multiple

customers at once and a computer does the dialing.

               1.     Multiple courts have already found Respondents Noble system to be a
                      predictive dialer and therefore an ATDS under the TCPA.

       The best evidence on this issue is that courts who have analyzed the Noble predictive

dialer specifically have found that it is a predictive dialer and, therefore, an ATDS under the

TCPA. See, e.g., Strauss v. CBE Grp., Inc., 173 F. Supp. 3d 1302, 1309 (S.D. Fla. 2016)

(finding the Noble predictive dialer to be an ATDS); In re Collecto, Inc., No. 14-MD-02513-

RGS, 2016 U.S. Dist. LEXIS 16319, at *3 n.1 (D. Mass. Feb. 10, 2016) (finding the Noble

predictive dialer with the Maestro software used by Respondent to be an ATDS); Reyes v. BCA

Fin. Servs., 312 F. Supp. 3d 1308, 1320 (S.D. Fla. 2018) (finding the Noble predictive dialer to

be an ATDS under the TCPA).

       “A predictive dialer constitutes an ATDS within the meaning of the TCPA. A predictive

dialer is ‘hardware, when paired with certain software, [which] has the capacity to store or


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produce numbers and dial those numbers at random, in sequential order, or from a database of

numbers’ without human intervention. To determine whether a dialer is a predictive dialing

system, and therefore an ATDS, ‘the primary consideration . . . is whether human intervention is

required at the point in time at which the number is dialed.’” Strauss, 173 F. Supp. 3d at 1309.

               2.     Noble refers to its dialing system as a predictive dialer.

       Noble advertises its automatic dialer system as an outbound “predictive dialer”. See, e.g.,

https://www.noblesys.com/wp-content/uploads/2018/ 04/PS_Noble_Outbound.pdf. Noble holds

more than 150 U.S. Patents. Its outbound predictive dialer has a myriad of capabilities that are

simply not humanly possible.

               3.     Conn’s itself has publicly and repeatedly stated that it uses a
                      predictive dialer.

       The evidence in this case will show that Conn’s itself has publicly and repeatedly stated

that it uses a predictive dialer. Respondent has produced the manuals for the Noble Maestro and

Noble Harmony software used to operate its Noble predictive dialer. Those manuals refer to

“pacing algorithms,” “outbound predictive dialing,” and “predictive pacing methods.” Conn’s

own training manual refers to using the Noble dialer for “outbound predictive” call campaigns.

       In its publicly filed 2012 SEC Form 10-K, Conn’s stated, “We employ Nortel telephone

switches and a Noble Systems hosted predictive dialer, as well as a redundant data network and

cable plant, to improve the efficiency of our collection and overall corporate communication

efforts.” Conn’s 2013 SEC Form 10-K reiterated, “Our collection activities involve a

combination of efforts that take place in our Beaumont and San Antonio, Texas collection

centers. We maintain a predictive dialer system, including virtual collection systems, and letter

campaigns that help us contact and speak to customers daily.” Conn’s still uses that same Noble

system it has used since October 2011.


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        Even more recently, in Williams, Jr. v. Conn Appliances, Inc., Case No. 2:17-cv-02052-

JTF-cgc (W.D. Tenn. Oct. 9, 2018), Respondent’s Corporate Representative testified under oath

that the Noble system codes many of the calls Conn’s makes as being made in “predictive

mode”. Id. at (Document 20-3, at p. 66 (Transcript p. 251:19-24)).

        In sum, the great weight of evidence and authority shows that Respondent used a

predictive dialer to place calls to Claimant’s cell phone, and Respondent’s predictive dialer is an

ATDS under the TCPA.

        C.       Respondent’s calls to Claimant in violation of the TCPA were willful or
                 knowing.

        Under the TCPA, if Respondent’s violations were found to be “willful or knowing”,

Claimant is entitled to treble damages of up to $1,500 per call. The law as to what constitutes a

“willful or knowing” violation is not well-settled. However, “[w]hile neither the TCPA nor FCC

regulations provide a definition for willful and knowing, most courts have interpreted the willful

or knowing standard to require only that a party’s actions were intentional, not that it was aware

that it was violating the statute. Davis v. Diversified Consultants, Inc., 36 F. Supp. 3d 217, 226

(D. Mass. 2014) (citing Alea London Ltd. v. Am. Home Servs., 638 F.3d 768, 776 (11th Cir.

2011) (holding that the TCPA requires mere “knowing” conduct); Harris v. World Fin. Network

Nat. Bank, 867 F. Supp. 2d 888, 896-97 (E.D. Mich. 2012); Sengenberger v. Credit Control

Servs., Inc., 2010 U.S. Dist. LEXIS 43874 (N.D. Ill. May 5, 2010); Bridgeview Health Care Ctr.

Ltd. v. Clark, 2013 U.S. Dist. LEXIS 37310 (N.D. Ill. Mar. 19, 2013). But see, e.g., Texas v. Am.

Blastfax, Inc., 164 F. Supp. 2d 892 (W.D. Tex. 2001) (requiring knowledge that conduct violated

the statute)).




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              1.      Conn’s is aware of and understands its obligation to comply with the
                      TCPA.

       Regardless of which standard is applied, Conn’s violations are willful or knowing.

Conn’s understands its obligation to comply with the TCPA. Conn’s SEC filings acknowledge

TCPA regulation of their business. See SEC filings, supra. Conn’s Noble Systems Training

Guide includes references to the TCPA, and discusses manual dialing when necessary to comply

with the TCPA.

       Conn’s Training & Development manual has a section titled “Telephone Handling

Procedure: Stop Call Request & TCPA Status”.           The section begins “Because of TCPA

regulations, Conn’s enacted policies regarding how cell phone numbers are handled on

customer accounts.”

       Conn’s has other documents related specifically to the TCPA that were in effect during

the relevant time period but that it has failed to produce in this arbitration, including an

additional TCPA Job Aid for inbound calls. Conn’s also makes millions of calls using a pre-

recorded message, which the TCPA regulates regardless of whether an ATDS is used. The

bottom line is, Conn’s knows that it is required to comply with the TCPA.

              2.      Conn’s written policy regarding revocation is not a defense, because
                      Conn’s does not actually enforce the policy—Conn’s wants to call
                      consumers, regardless of whether they want to be called.

       Conn’s will likely argue that its violations are not willful or knowing because it has

written policies that require a number be marked “Do Not Use” if a customer asks for calls to

stop. But Conn’s written policy defense falls flat, because the evidence shows that in practice,

Conn’s does not actually enforce the policy. As the court in Krakauer v. Dish Network L.L.C.,

No. 1:14-CV-333, 2017 U.S. Dist. LEXIS 77163 (M.D.N.C. May 22, 2017) explained:




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                Dish maintains that by calling [Plaintiff] in 2010 and 2011, [Dish’s
                vendor] SSN disobeyed direct instructions from Dish. This is true,
                but it does not disprove willfulness or knowledge.
                […]
                Given the tens of thousands of violative calls SSN made in a span
                of just over a year, even a cursory investigation or monitoring
                effort by Dish would have uncovered the violations. Under these
                circumstances, what Dish calls a mistaken belief is actually willful
                ignorance.

Id. at *31-32. Conn’s is one of the most prolific violators of the TCPA in the country. Its agents

in this case repeatedly failed to mention in the account notes that Claimant said to stop calling.

That is done willfully. Conn’s does not really want its agents to stop calling, even when

customers do not want to be called.

        In fact, Conn’s Noble dialer uses patented technology to make phone calls that appear to

be from different phone numbers with the consumer’s same local area code specifically because

(1) Conn’s does not want the consumer to be able to identify the number as Conn’s, because the

consumer could ignore or block the number; and (2) a consumer is more likely to answer a call

from a phone number she doesn’t recognize if it’s from a local area code. It is intentional deceit

to try to get people that do not want Conn’s calling them to answer the phone.

                3.     Conn’s continued to call Claimant, despite her repeated complaints of
                       harassment, threats to hire a lawyer, and requests that Conn’s stop
                       calling her.

        What is clear is that regardless of what Conn’s says in its written policy on customers’

revoking consent, in practice, the policy is not enforced. Even after Claimant threatened to hire

an attorney to stop Conn’s harassing phone calls on March 13, 2017, Conn’s continued to ignore

its written policy:

       June 15, 2017
           o Claimant told Conn’s agent Lonny Soto to stop calling her phone.
           o Agent Soto did not mark Claimant’s cell phone “Do Not Use”



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                o There is no indication in the account notes that Claimant asked Conn’s to stop
                  calling her.

          June 15, 2017 (Second Revocation)
              o Claimant told Conn’s agent Veronica Perez to stop calling her phone.
              o Agent Perez did not remove Claimant from the call list.
              o Agent Perez did not mark Claimant’s cell phone number “Do Not Use”
              o There is no indication in the account notes that Claimant asked Conn’s to stop
                  calling her.

          October 11, 2017
              o Claimant told Conn’s agent Kerry Brown, “If y’all call my phone one more damn
                 time, I’m gonna sue y’all for harassment” and “Why are you still calling?”
              o Agent Brown put in the notes that Claimant stated she is “tired of the calls”.
              o Agent Brown did not mention Claimant saying if Conn’s called her again she
                 would sue Conn’s.

          October 12, 2017
              o Claimant told Conn’s agent Angelica Gonzalez, “Stop calling me from all these
                 damn different numbers.”
              o Agent Gonzalez did not enter anything in the account notes about this revocation
                 either.

           The agents did not document Claimant’s revocations or mark her number “Do Not Use”

because regardless of what its written policy says, in reality, Conn’s doesn’t want them to. This

is not an outlier incident, or a series of rogue agents. It is a business decision to pressure

individuals into paying. Conn’s has been in possession of the above-described conversations

during the entire course of its conduct, yet still failed to comply with the law.4 Moreover, every

single defense raised by Respondent wasn’t available during the time period of the illegal

harassing calls. It is truly willful and knowing when there is no defense to the conduct. Conn’s

wants agents to keep calling. It trains them to keep calling. It uses technology to trick customers

into answering, and to prevent them from blocking Conn’s number. Conn’s willfully and

knowingly violates the TCPA as a matter of policy and is not hoping to raise meritless defenses

after the fact in order to salvage its unlawful activity. Therefore, treble damages are appropriate.


4
    Transcripts of the conversations are attached as Exhibit C.

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V.      Conclusion

        As has been demonstrated, Claimant is entitled to an award of $172,500 based on the

TCPA’s minimum statutory damages of $500 per call for the 345 autodialer calls after March 13,

2017. However, it is clear from the egregious pattern of behavior displayed by Respondent that

this was a willful and knowing campaign of harassment for the 176 autodialer calls placed after

Claimant revoked twice again on June 15, 2017 (having previously complained about harassment

and threatened to hire an attorney on at least 3 occasions prior to that date), thereby entitling the

Claimant to treble damages of $1,500 per call for those calls, for a total award in the amount of

$348,500.


                                              Respectfully submitted,

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                              EXHIBIT A



         NUMBER OF AUTODIALER CALLS CONN’S MADE
          TO CLAIMANT’S CELL PHONE EACH MONTH



                        Month/Year       # of Dialer Calls
                     September 2015                    16
                       October 2015                      9
                     November 2015                     30
                     December 2015                     18
                       January 2016                      7
                      February 2016                    20
                         March 2016                    14
                          April 2016                   19
                          May 2016                     23
                          June 2016                    16
                           July 2016                   49
                        August 2016                    25
                     September 2016                    12
                       October 2016                    39
                     November 2016                     25
                     December 2016                     20
                       January 2017                    48
                      February 2017                    63
                         March 2017                    42
                          April 2017                   58
                          May 2017                     55
                          June 2017                    60
                           July 2017                   61
                        August 2017                    50
                     September 2017                    18
                       October 2017                    58
                           TOTAL:                     855
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                                        EXHIBIT B

                            POST-ACA INTERNATIONAL OPINIONS

Equipment that dials from a list of numbers automatically, with no human intervention at
the time of dialing is still an ATDS:

         CASE                                                       JURISDICTION
1        Wilson v. Quest Diagnostics                             D.N.J. Dec. 18, 2018
2        Maes v. Charter                                    W.D. Wisc. Oct. 30, 2018
3        Adams v. Ocwen                                        S.D. Fla. Oct. 26, 2018
4        Keifer v. Hosopo Corp.                               S.D. Cal. Oct. 25, 2018
5        Glasser v. Hilton Grand Vacations Co.               M.D. Fla. Sep. 24, 2018
6        Marks v. Crunch San Diego, LLC                        9th Cir. Sept. 20, 2018
7        Heard v. Nationstar Mortg. LLC                      N.D. Ala. Aug. 23, 2018
8        Ramos v. Hopele of Fort Lauderdale                   S.D. Fla. Aug. 16, 2018
9        Abante Rooter and Plumbing, Inc. v. Alarm Co.        N.D. Cal. Aug. 3, 2018
10       Somogyi v. Freedom Mortg. Corp.                          D.N.J. Aug 2, 2018
11       Sieleman v. Freedom Mortg. Corp.                         D.N.J. Aug. 2, 2018
12       Pieterson, et al. v. Wells Fargo Bank, N.A.           N.D. Cal. July 2, 2018
13       O’Shea v. Am. Solar Sol.                               S.D. Cal. July 2, 2018
14       Ammons v. Ally Fin., Inc.                          M.D. Tenn. June 27, 2018
15       Dominguez v. Yahoo, Inc.                               3rd Cir. Jun. 26, 2018
16       McMillion v. Rash Curtis & Associates               N.D. Cal., June 18, 2018
17       Swaney v. Regions Bank                              N.D. Ala. May 22, 2018
18       Maddox v. CBE Grp., Inc.                             N.D. Ga. May 22, 2018
19       Reyes v. BCA Fin. Servs., Inc.                       S.D. Fla. May 14, 2018
20       France v. DiTech Fin., LLC                            M.D. Fla. Apr. 6, 2018

Equipment that dials from a list of numbers automatically, with no human intervention at
the time of dialing is no longer an ATDS:

         CASE                                                      JURISDICTION
1        Harbach v. USAA Federal Savings Bank                 N.D. Iowa Jan. 9, 2019
2        Richardson v. Verde Energy USA, Inc.                  E.D. Pa. Dec. 14, 2018
3        Johnson v. Yahoo!, Inc.                              N.D. Ill. Nov. 29, 2018
4        Roark v. Credit One Banks, N.A.                      D. Minn. Nov. 13, 2018
5        Fleming v. Associated Credit Credit Servs., Inc.       D.N.J. Sept. 21, 2018
6        Gonzalez v. Ocwen Loan Servicing, LLC                M.D. Fla. Sept. 5, 2018
7        Keyes v. Ocwen Loan Servicing                      E.D. Mich. Aug. 16, 2018
8        Gary v. TrueBlue, Inc.                              E.D. Mich. Aug. 1, 2018
9        Pinkus v. Sirius XM Radio, Inc.                       N.D. Ill. July 26, 2018
10       Sessions v. Barclays Bank Delaware                   N.D. Ga. June 25, 2018
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1. Wilson v. Quest Diagnostics, No. 2:18-11960, 2018 U.S. Dist. LEXIS 212023 (D.N.J.
   Dec. 18, 2018) (This Court finds the Third Circuit’s interpretation of the TCPA “as we
   did prior to the issuance of the 2015 [order]” to mean that the D.C. Circuit did not
   invalidate the 2003 and 2008 Orders, only the 2015 Order. See Id.           Therefore, a
   predictive dialer qualifies as an ATDS so long as it has “the [present] capacity to dial
   numbers without human intervention.” 2003 Order at 14092 (alteration to reflect
   precedent);

2. Maes v. Charter, No. 18-cv-00124, 2018 WL 5619199 (W.D. Wisc. Oct. 30, 2018) ( “the
   court concludes the 2003 FCC order is still valid”.) (What ACA International did was to
   reject the FCC’s have-your-cake-and-eat-it-too approach to the questions before it . . . but
   what ACA International did not do is endorse one interpretation over the other, even
   implicitly. It overstates the holding of ACA International when it says that the “D.C.
   Circuit overturned the FCC’s decision in the 2015 Declaratory Ruling to ‘reaffirm[] . . .
   the notion that a device can be considered an autodialer even if it has no capacity itself to
   generate random or sequential numbers […]);

3. Adams v. Ocwen, No. 18-81028, 2018 U.S. Dist. LEXIS 184513 (S.D. Fla. Oct. 26, 2018)
   (The Court agrees with the reasoning and conclusions of post-ACA decisions which hold
   that “the statutory definition of ATDS includes a device that stores telephone numbers to
   be called, whether or not those numbers have been generated by a random or sequential
   number generator.);

4. Keifer v. Hosopo Corp., No. 3:18-cv-1353, 2018 U.S. Dist. LEXIS 183468 (S.D. Cal.
   Oct. 25, 2018) (“…an ATDS need not create or develop the numbers dialed on its own.”);

5. Glasser v. Hilton Grand Vacations Co., No. 8:16-cv-952-JDW-AAS, 2018 U.S. Dist.
   LEXIS 162867(M.D. Fla. Sep. 24, 2018) (ACA Int’l left intact earlier FCC rulings that
   the basic function of an auto-dialer is to dial numbers without human intervention);

6. Marks v. Crunch San Diego, LLC, 904 F.3d 1041 (9th Cir. Sep. 20, 2018) (Statutory
   definition of ATDS includes devices that stores telephone numbers to be called, whether
   or not those numbers have been generated by a random or sequential number generator,
   including predictive dialers);

7. Heard v. Nationstar Mortg. LLC, No. 2:16-cv-00694-MHH, 2018 U.S. Dist. LEXIS
   143175 (N.D. Ala. Aug. 23, 2018) (Predictive dialer meets the statutory definition of an
   ATDS);
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8. Ramos v. Hopele of Fort Lauderdale, No. 17-62100-CIVMORENO/SELTZER, 2018
   U.S. Dist. LEXIS 139947 (S.D. Fla. Aug. 16, 2018) (“human intervention” test from
   FCC’s 2003 predictive dialer rulings survived ACA Int’l);

9. Abante Rooter and Plumbing, Inc. v. Alarm.Com, No. 15-cv-06314, 2018 WL 3707283
   (N.D. Cal. Aug. 3, 2018) (“ACA International invalidated only the 2015 FCC Order”)
   (Emphasis added);

10. Somogyi v. Freedom Mortg. Corp., No. 17-6546 (JBS/SJ), 2018 U.S. Dist. LEXIS 12697
    (D.N.J. Aug 2, 2018) (predictive dialer rulings survived ACA Int’l and dialing from a list
    is “random or sequential” dialing);

11. Sieleman v. Freedom Mortg. Corp., No. 17-13110 (JBS/JS), 2018 U.S. Dist. LEXIS
    129698 (D.N.J. Aug. 2, 2018) (predictive dialer rulings survived ACA Int’l and dialing
    from a list is “random or sequential” dialing);

12. Pieterson, et al. v. Wells Fargo Bank, N.A., No. 17-cv-02306-EDL, 2018 U.S. Dist.
    LEXIS 113125 (N.D. Cal. July 2, 2018) (Denying motion to stay noting that while “ACA
    International vacated the 2015 Declaratory Ruling, it did not clearly intend to disturb the
    FCC’s 2003 and 2008 Orders”);

13. O’Shea v. Am. Solar Sol., No. 3:14-cv-00894-LRBB, 2018 U.S. Dist. LEXIS 110402
    (S.D. Cal. July 2, 2018) (following Swaney and holding that FCC’s predictive dialer
    rulings survived ACA Int’l.) (The ACA decision left intact the holding of both the FCC’s
    2003 and 2008 Order that an autodialer is an ATDS. It follows that the ViciDial
    predictive dialer is an ATDS.”);

14. Ammons v. Ally Financial, 326 F. Supp. 3d 578 (M.D. Tenn. June 27, 2018) (Predictive
    dialer rulings survived ACA Int’l.) (The District Court determined that “beyond not
    expressly repudiating the 2003 FCC Ruling, 2008 FCC Ruling, and 2012 Ruling, as
    discussed above, ACA International supports the conclusion reached in Reyes because the
    D.C. Circuit explicitly acknowledged the FCC’s 2003 determination that ‘while some
    predictive dialers cannot be programmed to generate random or sequential phone
    numbers, they still satisfy the statutory definition of an ATDS.’” Id., at *12-13. The
    District Court went on to note that “applying the appropriate standard here, the primary
    consideration…is ‘whether human intervention is required at the point in time at which
    [the Plaintiff’s] number [was] dialed.”);

15. Dominguez v. Yahoo, Inc., 894 F.3d 116 (3rd Cir. Jun. 2018) (text message case finding
    that the 2003, 2008, and 2012 FCC Orders on predictive dialers remain intact);
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16. McMillion v. Rash Curtis & Associates, No. 16-cv-03396-YGR, 2018 U.S. Dist. LEXIS
    101700 (N.D. Cal., June 18, 2018)(ACA Int’l did not disturb prior Ninth Circuit rulings
    on predictive dialers.) (The Defendant argued that its dialing systems were not an ATDS
    because they “could not store or produce phone numbers to be called using a random or
    sequential number generator” as outlined in the statutory language. Id. at *4. The
    District Court found that “ACA International invalidated only the 2015 FCC Order”
    noting that “the court discussed but does not rule on the validity of the 2003 FCC Order
    or the 2008 FCC Order.” Id. at *7. Accordingly, the District Court upheld its previous
    ruling that the Defendant’s dialing systems were an ATDS because they “possessed
    ‘predictive dialing’ capabilities which allowed them to operate without human
    intervention” Id. at *4. Similarly here, there is no question that Respondent’s dialing
    system can operate without human intervention at the time of dialing and is therefore a
    predictive dialer subject to the TCPA);

17. Swaney v. Regions Bank, No. 2:13-cv-00544-JHE, 2018 U.S. Dist. LEXIS 85217 (N.D.
    Ala. May 22, 2018) (2003 FCC predictive dialer ruling remains binding.) (Ultimately,
    the District Court found that the plaintiff was “entitled to partial summary judgment on
    the issue of whether the Defendant’s system is an ATDS under the TCPA” because the
    Plaintiff “presented sufficient evidence to demonstrate that the system at issue has the
    capacity to dial numbers without human intervention.” Id., at *3. Similarly here,
    Claimant is not contending that Respondent violated the TCPA by using a system that
    can generate random or sequential numbers. Rather, Respondent utilized a predictive
    dialer, which dialed numbers from a list randomly or sequentially without human
    intervention at the time of dialing and is an ATDS for purposes of the TCPA pursuant to
    the 2003 and 2008 FCC Orders.);

18. Maddox v. CBE Grp., Inc., No. 1:17-cv-1909-SCJ, 2018 WL 2327037 (N.D. Ga. May 22,
    2018) (“human intervention” test from FCC’s 2003 predictive dialer rulings survived
    ACA Int’l);

19. Reyes v. BCA Fin. Servs., Inc.,. 312 F. Supp. 3d 1308 (S.D. Fla. May 14, 2018)(ACA Int’l
    did not overrule FCC’s predictive dialer rulings so they remain binding.) (In its Order on
    Summary Judgment, the District Court specifically held that “the prior FCC Orders are
    still binding” and that the Noble predictive dialer is an ATDS, regardless of how the
    numbers it dials are loaded into the dialing system, because it automatically dials these
    telephone numbers without human intervention at the time of dialing. Id., at *23-25. The
    Court went on to observe that ACA Int’l does not endorse one interpretation other the
    other and, absent an express rejection of the prior FCC Orders, the Court cannot deviate
    from them and impose its own interpretation of the TCPA. The court notes “the FCC has
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   consistently held that predictive dialers constitute ATDSs, their basic function being that
   they can dial persons without human intervention regardless of whether called
   numbers are generated randomly or sequentially or from a set list. Part of the concession
   of a predictive dialer by Defendant is there is no human intervention at the time of
   dialing.” (emphasis added). Id., at *10. Notably, the Noble predictive dialer is the same
   dialing system utilized by Respondent for all the actionable calls placed to Claimant’s
   cell phone without his consent.);

20. France v. DiTech Fin., LLC, No. 8:17-cv-3038-T-24 MAP, 2018 WL 1695405, at *8
    (M.D. Fla., Apr. 6, 2018). (The Defendant moved to dismiss the Plaintiff’s claim in part
    because Plaintiff allegedly failed to set forth “sufficient facts to support their contention
    that Defendant used an ATDS” and cited to the statutory language regarding random or
    sequential number generation. Id., at *7-8. However, the District Court was not
    persuaded and rejected the Defendant’s argument on this issue noting that “Plaintiffs’
    allegations are consistent with the use of a predictive dialer.” Id., at *8. As such, it is
    clear from this finding that the District Court continues to hold that a predictive dialer
    remained an ATDS following ACA Int’l.).
